                     2:21-cv-02293-CSB-EIL           # 11-1       Filed: 08/11/22       Page 1 of 1
                                                                                                                   E-FILED
                                                                                 Thursday, 11 August, 2022 11:27:11 AM
                                                                                           Clerk, U.S. District Court, ILCD
George Vargas

From:                             George Vargas
Sent:                             Monday, May 17, 2021 6:53 PM
To:                               Haq, Ehtsham; Miller, Patricia D. (WMC)
Cc:                               Morgan, Tim (OGC)
Subject:                          Expert Disclosure


Dear Dr. Haq:

Our new consulting firm was able to locate an expert that will assist us with Dr. Peterson1 s defense. I am formally
disclosing:

Dr. Verna Bain, MD
Portland, TN

As we were just now able to contract with Dr. Bain today, I am respectfully requesting that you reset the board to
either July 21 or 28 to allow our expert to review the documents the investigator relied on to make his recommendation
to suspend Dr. Peterson1 s clinical privileges.

As you consider when to re-schedule the hearing date, please be advised that due to the nature of my practice I find
myself in court Mondays, Tuesdays, and Thursdays. I can commit to a full day hearing any Wednesday or Friday.

I look forward to our pre-trial hearing in two days. Thank you for your attention to this matter.

Respectfu I ly,




George Vargas, Attorney at Law
Steigmann Law, P.C.
1807 Woodfield Drive
Savoy, Illinois 61874
Tele (217) 351-5818 Fax (217) 351-5819
gvargas@steigmannlaw.com
www.steigmannlaw.com



Notice: This communication is covered by the Electronic Communications Privacy Act (18 U.S.C. 2510 et. seq.) and is
intended to remain confidential and is subject to attorney client and work product privileges. If you are not the intended
recipient of this message, or if this message has been addressed to you in error, please immediately alert the sender by
reply e-mail and delete this message (and any attachments). Do not disclose, deliver, distribute or copy this email (and
any attachments).




                                                   Exhibit 1  1
